Case 2:25-cv-00477-WSS Document 22 Filed 04/15/25 Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

C.S. and D.T.,
Plaintiffs, Civil Action No. 2:25-cv-477

v. Hon. William S. Stickman IV
KRISTI NOEM, et al,

Defendants.

ORDER OF COURT

AND NOW, this #5 day of April 2025, IT IS HEREBY ORDERED that the Motion
for a Temporary Restraining Order (ECF No. 7) IS GRANTED IN PART AND DENIED IN
PART for the reasons set forth on the record at the evidentiary hearing this day. A temporary
restraining order is DENIED as to any governmental agency or officer altering information about
Plaintiffs’ status on the Student and Exchange Visitor Information System (“SEVIS”). A
temporary restraining order is GRANTED in that Defendants are prohibited from upsetting the
status quo as to instituting, commencing, or beginning deportation processes against the two
named Plaintiffs during the pendency of the Motion for Preliminary Injunction (ECF No. 11).
The bond requirement of Federal Rule of Civil Procedure 65 is waived.

IT IS FURTHER ORDERED that the Court will conduct a hearing on the Motion for
Preliminary Injunction (ECF No. 11) on Friday, April 25, 2025 at 8:00 AM. Briefs in support

of or opposition to Plaintiffs’ Motion for Preliminary Injunction (ECF No. 11) shall be filed by
Wednesday, April 23, 2025 at 4:00 PM.

BY THE COURT:

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WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE

